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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       Case No. 22-CR-64 (RBW)
        v.                                      :
                                                :
LLOYD CASIMIRO CRUZ, JR.,                       :
                                                :
                 Defendant                      :


              RESPONSE TO DEFENDANT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the defendant’s sentencing

memorandum filed on April 26, 2023.

        1.       On January 13, 2023, Cruz was convicted of both charges in the Information (ECF

7) after a stipulated bench trial. On that same date, the Court ordered that the final Pretrial Services

report be finalized by April 13, 2023, and that a sentencing hearing be set for May 2, 2023.

        2.       On March 16, 2023, the U.S. Probation Office (USPO) prepared a draft presentence

report that included a cover page requiring the parties to submit any material inaccuracies or

disputes to the presentence investigation report (PSR), by March 30, 2023. ECF 75.

        3.       On March 19, 2023, the government provided its response to the draft pretrial

services report indicating that it had no objections to the report. ECF 77. The defendant did not

respond to the draft presentence report.

        4.       On April 13, 2023, the USPO prepared a final presentence report. ECF 78. That

report noted that the “defendant and Defense Counsel have not responded to the presentence

report.” ECF 78 at 25.

        5.       On April 26, 2023, the parties filed their sentencing memorandums. ECF 80, 81.



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          6.       For the first time, on April 26, 2023, a month after the court-ordered deadline, the

defendant raised several objections to the Final presentence report, including objections to the

sentencing guideline calculation and the criminal history calculation, among other extraneous

issues that have already been, by-and-large, resolved by the Court in prior court hearings. ECF 81.

          7.       The government maintains that the guideline calculation and criminal history

calculations by the USPO are in fact correct for the reasons provided in the final presentence

report. 1 The defendant’s objections in his sentencing memorandum are both legally incorrect and

inconsistent with how this District has routinely analyzed the same guidelines in similar cases.

          8.       The deadlines imposed by the Court for resolving objections to the presentence

report is an intentional and deliberate process designed to streamline the sentencing process prior

to a sentencing hearing. See Fed. R. Crim. P. 32; DC LCrR 32.2.

          9.       The PSR objections contained in the defendant’s sentencing memorandum are

untimely and no good cause exists for the defendant’s failure to timely submit them. No reason

was provided ahead of time (or after) for the defendant failing to meet the court-ordered deadlines.

No communication was made to the government or the USPO before the March 30 deadline. See

ECF 78 at 25. The defendant should not be permitted to ignore deadlines and raise issues outside

of the court-ordered schedule.




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    The government will brief any live issue the Court finds appropriate upon further order.
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       Conclusion

       Given the lack of good cause for defendant’s untimeliness, the sentencing hearing should

largely focus on the 18 U.S.C. § 3553(a) sentencing factors.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ Andrew J. Tessman
                                             ANDREW J. TESSMAN
                                             Assistant United States Attorney
                                             District of Columbia – Detailee
                                             West Virginia Bar No. 13734
                                             300 Virginia Street
                                             Charleston, WV 25301
                                             (304) 345-2200
                                             Andrew.Tessman@usdoj.gov

                                             /s/ Rebekah Lederer
                                             Rebekah Lederer
                                             Pennsylvania Bar No. 320922
                                             Assistant United States Attorney
                                             U.S Attorney’s Office for District of Columbia
                                             601 D St. N.W, Washington, DC 20530
                                             Tel. No. (202) 252-7012
                                             Email: rebekah.lederer@usdoj.gov



                                CERTIFICATE OF SERVICE


       On this 27th day of April, a copy of the foregoing was served upon all parties listed on the
Electronic Case Filing (ECF) System.


                                      By:    /s/ Andrew J. Tessman
                                             Assistant United States Attorney




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